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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )          CRIMINAL ACTION NO.
       v.                             )              2:12cr221-MHT
                                      )                  (WO)
MARK EDWARD ELLIOTT                   )


                            OPINION AND ORDER

      This cause is now before the court on the question

of whether defendant Mark Edward Elliott has the mental

capacity      to   stand     trial,       that     is,   whether    he     is

suffering from a mental disease or defect rendering him

mentally incompetent to the extent that he is not able

to    understand      the    nature       and     consequences     of     the

proceedings against him or to assist properly in his

defense. See 18 U.S.C. § 4241(a). Based on evidence

presented in open court on October 15, 2014, the court

finds that he has the mental capacity to stand trial.

      Elliott’s      counsel     requested         an    examination       to

determine whether he was competent based in part on his

repeated pro se filings in this case; head trauma he
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reportedly      suffered     while      incarcerated      during        the

pendency of this case; reported lifelong history of

drug abuse; and allegations that he committed sexual

assault.      The court granted this request and ordered

Elliott       committed     for        psychological      evaluation.

       Randall Rattan, Ph.D., a licensed psychologist, and

Chad Waxman, M.S., evaluated Elliott at the Federal

Correctional Institution in Fort Worth, Texas.                   See 18

U.S.C.    §   4241(b).     They    concluded     that    Elliott        was

competent to stand trial.               Specifically, they found

that his history of substance abuse and head trauma

were “not a severe threat to competency.” Psychological

Evaluation submitted by Randall Rattan, Ph.D., and Chad

Waxman, M.S., dated August 6,2014, at 5.                Although they

found he exhibited “marked antisocial attitudes,” this

diagnosis does not create reasonable cause to believe

that     Elliott   may     not    be    competent.        Id.    at      7.

Furthermore, in open court on October 15, 2014, counsel




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for both sides rested on this report and had nothing

else to present on the issue.

    Based     upon     the    psychological         evaluations         and

pursuant to 18 U.S.C. § 4241(a), the court concludes

that Elliott is not currently suffering from a mental

disease or defect such that he is unable to understand

the nature and consequences of the proceedings against

him or to assist properly in his defense.

                                  ***

    Accordingly,       it    is   ORDERED    that    defendant      Mark

Edward Elliott is declared mentally competent to stand

trial in this case.

    DONE, this the 16th day of October, 2014.

                                      /s/ Myron H. Thompson___
                                   UNITED STATES DISTRICT JUDGE
